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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KATHY BARNETTE, individually and as a                :
 candidate for Pennsylvania’s 4th Congressional       :
 District and on behalf of all citizen electors of    : Civil Action No. 2:20-cv-05477
 Berks County, Pennsylvania, et al.                   :
                                                      :
                                 Plaintiffs,          :
                v.                                    :
                                                      :
 KENNETH E. LAWRENCE JR., Chair of the                :
 Montgomery County Board of Elections and             :
 Vice Chair of the Montgomery County Board of         :
 Commissioners, in his official capacity, et al.      :
                                                      :
                                 Defendants.



                PLAINTIFFS’ NOTICE OF DISMISSAL OF COMPLAINT

        Plaintiffs, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby
dismiss all causes of action in the Complaint against the Defendants herein without prejudice.
Defendants have filed neither an answer to the Complaint nor a motion for summary judgment as
to these claims. Dismissal under Rule 41(a)(1)(A)(i) is therefore appropriate.

Dated: November 11, 2020                             Respectfully submitted:

                                                     /s/ Andrew Teitelman
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                                                     /s/ Thomas E. Breth
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                                                     Counsel for Plaintiffs
